US. Department of Justice
United States Attorney FILED IN OPEN
                                                                                                           •Atlanta


                            IN THE UNITED STATES DISTRICT COURT JUN - 8 2021
                              FOR THE NORTHERN DISTRICT OF GEORGIA JAMES/^^TTEN, Clerk
                                                                                        BW^ ) Deputy Clert<


UNITED STATES OF AMERICA Indictment/ Information


                                                                  le21CR0228
Vikas Singla


Agent to Arrest ^»AMO DELIVERED

                                                                        SSte^i
                                                                        r^C3S
                                                                                                 'CLERK


                                               PRAECIPE

     The Clerk is hereby directed to issue a warrant for arrest/ certified copy (copies) of
indictment attached/ returnable instanter/ in the above-stated case.
                                                             '- 0

                                                     Samtr Kaushal
                                                     Assistant United States Attorney



Filed In Clerk's Office/ this _ day of _, 20 _.


                                   Clerk




By
                                Deputy Clerk



                                                                                    Form No. USA-19-8
                                                                                         (Rev. 08/06/87)
                                                                                        N.D.Ga. OS/26/94
